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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 ALEXANDRU KOVACS MIHAELA
 APETREI, and BEATICE KOVACS
 14-22 143 Street, 1st Floor,
 Whitestone, NY 11357

 Plaintiffs                                       Case No.

 -against-                                        COMPLAINT

 UNITED STATES CITIZENSHIP AND
 IMMIGRATION SERVICES,
 20 Massachusetts Ave NW,
 Washington DC 20529

 Defendant




                             INTRODUCTION AND SUMMARY


1.This is an action to hold unlawful and set aside the transparently unlawful and in fact absurd

decision of the United States Citizenship and Immigration Services denying an otherwise

approvable application for employment authorization merely because plaintiffs Alexandru Kovacs

and Mihaela Apetrei’s (the Kovacs) application for asylum has been temporarily (and unlawfully)

“administratively closed”.



2. As the plaintiffs will now show, not only is there no lawful basis for USCIS to administratively

close any application for asylum after interview, but, even if there was, administrative closure is

not a decision, and therefore the Kovacs’ application was not “decided” as claimed by the USCIS

in denying employment authorization.
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                                            PARTIES


3. The plaintiffs Alexandru Kovacs and Mihaela Apetrei are citizens and nationals of Romania

who last entered the U.S. as parolees. They reside in the State of New York with plaintiff Beatrice

Kovacs, their profoundly disabled U.S. citizen daughter.



4. The United States Citizenship and Immigration Services is the agency with responsibility for

the adjudication of Alexandru Kovacs and Mihaela Apetrei’s applications for asylum and

employment authorization.



5. Alexandru Kovacs and Mihaela Apetrei both have standing to complain of the unlawful denial

of their applications for employment authorization because it deprives them of any means of

supporting themselves or their daughter Beatrice in the United States.



6. Beatrice Kovacs is a natural born US citizen who is severely disabled. She has standing to

complain of this action because the denial of employment authorization to her parents also deprives

her of any means of support, a harm which falls upon her with particular severity due to her

multiple special needs.



7. This being an action under the Administrative Procedure Act, a law of the United States, this

Court has jurisdiction over this matter under 28 U.S.C. Section 1331.
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                       BRIEF STATEMENT OF PERTINENT FACTS


8. On approximately August 24, 2017, the plaintiffs Alexandru Kovacs and Mihaela Apetrei were

granted advance authorization for parole (“advance parole”) by the USCIS.



9. On September 22, 2017, Alexandru Kovacs and Mihaela Apetrei were paroled into the United

States pursuant to said advance authorization.



10. On September 17, 2018, Alexandru Kovacs and Mihaela Apetrei applied to the USCIS for

asylum. Alexandru Kovacs was the principal applicant and Mihaela Apetrei a derivative, but both

maintain they will suffer persecution in Romania.

11. The Kovacs applied for asylum because they are the parents of a disable child.

12. The Kovacs U.S. citizen daughter Beatrice suffers from seizures and is confined to a

wheelchair. She is unable to speak, walk or run.



13. Not only is Romania completely unable and unwilling to provide necessary medical care to

such a severely disable child, but has taken affirmative actions to trample on the rights of the child,

and by extension, the family unit by forcibly confining such disabled children to institutions where

the standard of care is appalling.



14. A parent who provides care to a disabled child has been found to be eligible for asylum,

along with the child herself, if the child is subject to persecution. Tchoukhrova v. Gonzales,
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404 F.3d. 1181 (9th Cir. 2005) (vacated on other grounds).1 See also Abay v. Ashcroft, 368

F.3d 634, 642 (6th Cir. 2004) (holding that a mother can be eligible for asylum based on her

fear of witnessing her daughter being subjected to forced genital mutilation).



15. On February 19, 2019, the Kovacs applied to the USCIS for employment authorization

pursuant to 8 C.F.R §§ 208.7 & 274a.12(c)(8).



16. On May 7, 2019 the Kovacs were interviewed by USCIS on their application for asylum



17. On June 10, 2019 the USCIS denied the Kovac’s applications for employment authorization

because

         records indicate that your Application for Asylum and Withholding of Removal (I-
         589), filed on September 17, 2018, was administratively closed on May 2 8, 2019 by
         the Asylum Office. Therefore, the request for asylum, upon which this application is
         dependent is considered having been decided. As a result, you are not, at this time,
         entitled to employment authorization pursuant to 8 CFR 274a.12(c){8).




                                    CAUSE OF ACTION


    I.   THE DENIAL OF EMPLOYMENT AUTHORIZATION WAS NOT IN ACCORDANCE
         WITH LAW BECAUSE THE USCIS HAD NO AUTHORITY TO
         “ADMINISTRATIVELY CLOSE” THE KOVACS’ APPLICATION FOR ASYLUM
         AFTER THEY WERE INTERVIEWED REGARDING IT, BUT IN FACT WAS
         REGULATORILY MANDATED TO EITHER GRANT THEIR APPLICATION OR
         REFER IT TO THE IMMIGRATION COURT

1
 The Supreme Court vacated the decision on procedural grounds alone and held that an
agency determination is required in the first instance as to whether the applicants are
members of a particular social group. Gonzales v. Thomas, 543 U.S. 183 (2006).
Importantly, the Supreme Court never held that "parents of a disabled child" were not a
cognizable social group,
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18. No known statute, regulation, policy or case authorizes the USCIS to “administrative close”

and asylum application. In fact the USCIS’s Administrative Appeals Office rountinelly refers

“administrative closure” as something “used to temporarily remove a case from Immigration

Judge’s calendar or from the Board of Immigration Appeal’s docket” Matter of (Name and Case

Number Withheld):

https://www.uscis.gov/sites/default/files/err/M1%20%20Application%20for%20Temporary%20

Protective%20Status/Decisions_Issued_in_2013/APR302013_03M1244.pdf, and not something

applicable to USCIS at all.



19. But even if USCIS policy did allow for administrative closure in certain circumstances, it

would not here where agency regulations expressly limit the USCIS in general to four (4) options

after it has interviewed an applicant for asylum: grant, refer, dismiss or deny. Further, under the

particular circumstances of the Kovacs, USCIS has only two: grant or refer.



20. 8 C.F.R. § 208.14 provides in relevant part that:
          (b) … In any case within the jurisdiction of the RAIO, unless otherwise prohibited in §
          208.13(c)2, an asylum officer may grant, in the exercise of his or her discretion, asylum to
          an applicant who qualifies as a refugee under section 101(a)(42) of the Act, and whose
          identity has been checked pursuant to section 208(d)(5)(A)(i) of the Act.
          (c) Denial, referral, or dismissal by an asylum officer. If the asylum officer does not grant
          asylum to an applicant after an interview conducted in accordance with § 208.9, or if, as
          provided in § 208.10, the applicant is deemed to have waived his or her right to an interview
          or an adjudication by an asylum officer, the asylum officer shall deny, refer, or dismiss the
          application, as follows:…
          (4) Alien paroled into the United States whose parole has expired or is terminated.
          (i) Alien paroled prior to April 1, 1997, or with advance authorization for parole. In the
          case of an applicant who was paroled into the United States prior to April 1, 1997, or who,
          prior to departure from the United States, had received an advance authorization for parole,

2
    Pertaining to certain “mandatory denials” not relevant here.
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       the asylum officer shall refer the application, together with the appropriate charging
       documents, to an immigration judge for adjudication in removal proceedings if the parole
       has expired, the Service has terminated parole, or the Service is terminating parole through
       issuance of the charging documents, pursuant to § 212.5(d)(2)(i) of this chapter.


21. Inasmuch as the Kovacs are persons who, prior to departure from the United States, had

received an advance authorization for parole, who had subsequently been paroled into the U.S. and

whose parole is now expired, a USCIS asylum officer shall either grant them asylum, as provided

in § 208.14(b) or he shall refer the application, together with the appropriate charging documents,

to an immigration judge for adjudication in removal proceedings. Choosing one of these two

options is mandatory and he has no other.



22. “’Shall’ most commonly means ‘must.’ See BLACK'S LAW DICTIONARY 1407 (8th ed.

2004) (defining "shall" as "has a duty to; more broadly, is required to"); see also WEBSTER'S

NINTH NEW COLLEGIATE DICTIONARY 1081 (Merriam-Webster 1990) ("shall" is "used in

laws, regulations, or directives to express what is mandatory"); accord Merriam-Webster

Online Dictionary, http://www.merriam-webster.com/dictionary/shall (last         visited   May     30,

3008).” FTC v. Tarriff, 557 F. Supp. 2d 92, 95 (D.D.C. 2008).



23. Accordingly, regardless of whether the USCIS has the authority to administratively close a

request for benefits at all, of which there is absolutely no reason to believe it does, it is expressly

prohibited from doing so in the instant matter, where it has interviewed applicants for asylum who

previously received advance authorization for parole, were subsequently paroled into the U.S., and

whose parole thereafter expired.
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WHEREFORE, inasmuch as the denial of employment authorization was premised solely upon an

action the USCIS was expressly prohibited from taking, and the Kovacs’ application for asylum

was not, in any event, decided, the denial was not in accordance with law, and should be held

unlawful and set aside. 5 U.S.C. § 706(2).



 II.    ADMINISTRATIVE CLOSURE IS A TEMPORARY PAUSE OF AN APPLICATION,
        NOT A DECISION


24. The USCIS’ denial of employment authorization relied upon 8 C.F.R. § 274a.12(c)(8) which

provides in relevant part that employment authorization may be granted to “An alien who has filed

a complete application for asylum or withholding of deportation or removal pursuant to 8 CFR

part 208, whose application:(i) Has not been decided, …”. Based on this language, it concluded

that because the Kovacs’ application for asylum had been administratively closed, it had been

decided, and therefore that they were not eligible for employment authorization.



25. The Board of Immigration Appeals has held the practice of administrative closure to be "a

docket management tool that is used to temporarily pause removal proceedings," Matter of W-Y-

U-, 27 I&N Dec. 17, 18 (BIA 2017)(emphasis added).



26. It is, or at least should be, self-evident to any literate person that to “temporarily pause” a

matter is not to decide it.



27. Nevertheless, to belabor the obvious, it should be noted that: “The word "decide" is defined in

(Funk & Wagnalls New Standard Dictionary) as follows: "To determine the issue or conclusion

of; * * * to end by a decision or judgment; * * * as, to decide a dispute; decide who is right." Geo.
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S. Bush & Co. v. United States, 22 Cust. Ct. 158, 187 (U.S. 1949). see BLACK'S LAW

DICTIONARY at 467 (defining "decision" as "[a] judicial or agency determination after

consideration of the facts and the law").” Hime v. McDonald, 28 Vet. App. 1, 7 (U.S. 2016). Since

Black's Law Dictionary defines a “determination” as “A final decision by a court or administrative

agency”, Black's Law Dictionary 514 (9th ed. 2009), the inescapable conclusion is that a

“decision” means a final decision by a court or administrative agency, and so to decide means to

make a final decision.



28. Finally, to eliminate all doubt, 8 C.F.R. § 208.7(a)(1) provides in relevant part “An applicant

whose asylum application has been denied by an asylum officer or by an immigration judge within

the 150-day period shall not be eligible to apply for employment authorization.” (emphasis added).



29. This regulation demonstrates unambiguously that when 8 C.F.R. § 274a.12(c)(8) refers to an

application for asylum being “decided”, it means “denied”, since any other interpretation would

be irreconcilable with 8 C.F.R. § 208.7(a)(1).



30. Since there is nothing final about a “temporary pause”, the administrative closure of the

Kovacs’ application for asylum, even if there is such a thing in USCIS jurisprudence, and even if

it is allowable here, is not a decision, and therefore their application was not decided.

31. Further, and in any event, it is most certainly not a denial.
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WHEREFORE the USCIS decision denying the Kovacs’ application for employment

authorization because their asylum application was supposedly administratively closed is not in

accordance with law and should be held unlawful and set aside.



Respectfully Submitted


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